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                UNITED STATES COURT OF INTERNATIONAL TRADE


                                                            )
THE ALUMINUM ASSOCIATION COMMON                             )
ALLOY ALUMINUM SHEET TRADE                                  )
ENFORCEMENT WORKING GROUP, ET AL.,                          )
                                                            )
                       Plaintiffs,                          )       Court No. 23-00251
       v.                                                   )
                                                            )
UNITED STATES,                                              )
                                                            )
                       Defendant.                           )
                                                            )

                                          COMPLAINT

        The Aluminum Association Common Alloy Aluminum Sheet Trade Enforcement

Working Group and its individual members (Arconic Corporation; Commonwealth Rolled

Products Inc.; Constellium Rolled Products Ravenswood, LLC; JW Aluminum Company;

Novelis Corporation; and Texarkana Aluminum, Inc.) (collectively, "Plaintiffs") through their

attorneys, allege and state as follows:


                                          JURISDICTION

       1.      This Court has jurisdiction pursuant to 28 U.S.C. § 1581(c), as this action is

brought pursuant to 19 U.S.C. § 1516a(a)(2)(A)(i)(I) and (a)(2)(B)(iii).


       2.      Plaintiffs contest certain factual findings and legal conclusions in the United

States Department of Commerce's ("Commerce" or "the Department") first administrative

review of the antidumping duty order common alloy aluminum sheet from the Turkey. The final

results of the Department's administrative review were published as Common Alloy Aluminum

Sheet From Turkey: Final Results of Antidumping Duty Administrative Review; 2020- 2022, 88
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Fed. Reg. 77,550 (Dep't Commerce Nov. 13, 2023) (hereinafter, "Final Results") and the

accompanying Issues and Decision Memorandum for the Final Results of the Administrative

Review of the Antidumping Duty Order on Common Alloy Aluminum Sheet from Turkey;

2020-2022 (Dep't Commerce Nov. 3, 2023) (hereinafter, "Issues and Decision Memorandum").


                                    STANDING OF PLAINTIFFS

       3.      The individual members of the Aluminum Association Common Alloy Aluminum

Sheet Trade Enforcement Working Group are manufacturers, producers, and/or wholesalers in

the United States of the domestic product that is like common alloy aluminum sheet.

Additionally, the Aluminum Association Common Alloy Aluminum Sheet Trade Enforcement

Working Group is a trade or business association, a majority of whose members manufacture,

produce, or wholesale the domestic like product in the United States. Plaintiffs were Petitioners

in the underlying agency investigation that lead to the imposition of the antidumping duty order

on common alloy aluminum sheet from Turkey and actively participated in the first

administrative review of that antidumping order as parties to the proceeding.' As such, Plaintiffs

are interested parties within the meaning of section 771(9)(C) and (E) of the Tariff Act of 1930,

as amended, 19 U.S.C. § 1677(9)(C) and (E), and Plaintiffs have standing to bring this action

pursuant to 28 U.S.C. § 2631(c).




1   During the Commerce Department's conduct of the underlying investigation (i.e., in April
2020), one of the petitioning companies — Aleris Rolled Products Inc. — was acquired by Novelis
Corporation, another petitioner. As a condition of the sale, the U.S. Department of Justice
required that a portion of the assets of Aleris Rolled Products Inc. be sold. Commonwealth
Rolled Products Inc. ("Commonwealth") is the name of the corporate entity that now owns the
sold off assets — and Commonwealth now operates a mill in Lewisport, Kentucky that was
previously owned and operated by Aleris.


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                              TIMELINESS OF THIS ACTION

       4.      The Department's Final Results were published in the Federal Register on

November 13, 2023 (88 Fed. Reg. 77,550). Pursuant to 19 U.S.C. § 1516a(a)(2)(A)(i)(I) and

U.S. Court of International Trade Rule 3(a)(2), Plaintiffs filed a Summons with the Court within

30 days of the date on which the Final Results were published in the Federal Register (see ECF

No. 1, dated December 4, 2023) and this Complaint is being timely filed within 30 days of the

filing of the Summons.


                  STATEMENT OF CLAIMS AND BASIS FOR RELIEF

                                            COUNT I

       5.      Paragraphs 1 through 4 above are re-alleged and incorporated herein by reference.


       6.      Pursuant to 19 U.S.C. § 1677a(c)(1)(B), the Department increases the export price

or constructed export price by "the amount of any import duties imposed by the country of

exportation which have been rebated, or which have not been collected, by reason of the

exportation of the subject merchandise to the United States."         The Commerce Department

commonly refers to this adjustment as a "duty drawback adjustment." See, e.g., Saha Thai Steel

Pipe (Pub.) Co. v. United States, 635 F.3d 1335, 1338 (Fed. Cir. 2011) (citation omitted)

(hereinafter, "Saha Thai"); see also Issues and Decision Memo at 5.


       7.      In determining whether a particular respondent is eligible to receive a duty

drawback adjustment, the Department applies a two-pronged test that seeks to determine

whether: (1) the rebate or exemption of an otherwise payable import duty is linked to the

exportation of the subject merchandise; and (2) there are sufficient imports of the raw material to




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account for the duty drawback paid by the subject country government upon the export of subject

merchandise. See Saha Thai, 635 F.3d at 1340-41 (citation omitted).


       8.      Moreover, Commerce's practice in proceedings involving merchandise from

Turkey is to grant a duty drawback adjustment only with respect to inward processing certificates

that have closed, a practice that has been sustained by the U.S. Court of International Trade. See

Habas Sinai ye Tibbi Gazlar Istihsal Endustrisi A.S. v. United States, 439 F. Supp. 3d 1342,

1349 (Ct. Int'l Trade 2020) (finding that "Commerce reasonably predicates its inclusion of

{inward processing certificates} on evidence of closure as demonstrating final duty exemption");

see also ICDAS Celik Enerji Tersane ye Ulasim Sanayi, A.S. v. United States, 2023 Ct. Intl.

Trade LEXIS 127, at *14-17 (Ct. Int'l Trade Aug. 23, 2023); Noksel Celik Boni Sanayi A.S. v.

United States, 2023 Ct. Intl. Trade LEXIS 126, at *9-14 (Ct. Int'l Trade Aug. 23, 2023).


       9.      Commerce chose as one of two mandatory respondents for the underlying

administrative review Assan Aluminyum Sanayi ye Ticaret A.S., Kibar Americas, Inc., and

Kibar Dis Ticaret A.S. (collectively, "Assan"). Issues and Decision Memo at 1.


       10.     In the Final Results, Commerce improperly calculated Assan's duty drawback

adjustment. Specifically, Commerce "divide{d} the amount of total duties exempted on closed

{inward processing certificates} by the total quantity of exports made under those closed

{inward processing certificates} to calculate a per-unit duty drawback adjustment," which

Commerce assigned to all of Assan's U.S. sales. Issues and Decision Memo at 6. Commerce

further stated that this methodology "reasonably reflects the duties actually exempted for the

exports of subject merchandise made to the United States during the" period of review ("POR").

Id.

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       11.     Commerce's methodology is contrary to the plain language of the statute. By

dividing the total amount of duties exempted by the Turkish government on a closed inward

processing certificate over Assan's total exports made under such closed inward processing

certificates, and then assigning that per unit adjustment to all U.S. sales, the Department has

failed to base the duty drawback adjustment on "the amount" of import duty liability forgiven by

the Turkish government "by reason of the exportation of the subject merchandise to the United

States." 19 U.S.C. § 1677a(c)(1)(B). Instead, "the amount" is based on Assan's U.S. sales

volume, which is contrary to the statute's plain-language.


       12.     Additionally, the statute requires an adjustment to export price or constructed

export price of "the amount of any import duties . . . which have not been collected, by reason of

the exportation of the subject merchandise to the United States." 19 U.S.C. § 1677a(c)(1)(B)

(emphases added). Commerce's methodology in the Final Results grants Assan a duty drawback

adjustment that includes duty liability forgiven by the Turkish government by reason of Assan's

I

                                ] Thus, Commerce's duty drawback adjustment is contrary to the

statute's plain language and, thus, not in accordance with law.


                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:


        (a)    Hold that Commerce's Final Results are not supported by substantial evidence

and are not otherwise not in accordance with law with respect to the claims advanced by

Plaintiffs in this Complaint;



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        (b)    Remand the Final Results to Commerce with instructions to correct the errors set

forth in this Complaint; and


       (c)     Provide such other relief as this Court deems just and appropriate.


                                             Respectfully submitted,




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                                             Counsel to Plaintiffs

Dated: December 21, 2023




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       CERTIFICATE OF SERVICE AND NOTICE TO INTERESTED PARTIES

  Aluminum Association Common Alloy Aluminum Sheet Trade Enforcement Working
                          Group et al. v. United States
                            CIT Court No. 23-00251

       Pursuant to Rule 3(f) of the Rules of the Court of International Trade, I, John M.
Herrmann, hereby certify that on December 21, 2023, copies of the foregoing Nonconfidential
Complaint were served upon the following individuals and notified all the interested parties who
were a party to the proceeding below, by certified mail, return receipt requested:

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Washington, DC 20530

UPON THE U.S. DEPARTMENT OF COMMERCE

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                                              /s/ John M. Herrmann
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